                                                                                    DISTRICT OF OREGON
                                                                                       FILED
                                                                                      October 16, 2018
                                                                                Clerk, U.S. Bankruptcy Court



   Below is an Order of the Court.




                                                                     _____________________________
                                                                            TRISH M. BROWN
                                                                          U.S. Bankruptcy Judge




                             UN ITE D STA TE S B A N KRUP TC Y C O URT

                                       D ISTRIC T O F O RE GO N



In re:                                                 C ase N o.18 -3318 3-tmb11

C O L O N IA L O A KS M O B IL E H O M E P A RK,       FIN A L O RD E R UN D E R SE C TIO N S 361
LLC ,                                                  A N D 363 O F TH E B A N KRUP TC Y C O D E ,
                                                       A UTH O RIZ IN G D E B TO R TO USE C A SH
                                                       C O L L A TE RA L A N D TO GRA N T
                          D ebtor.                     A D E Q UA TE P RO TE C TIO N




            This mattercame before the C ou rton O ctober15,20 18 ,on the M otion ForFinalO rd er

Und erSections 361 and 363 of the B ankru ptcy C od e,A u thorizingD ebtorto Use C ashC ollateral

and to GrantA d equ ate P rotection [E C F D oc #28 ] filed by C olonialO aks M obile H ome P ark,

L L C ,(the “D ebtor”
                    ),as d ebtorin possession.B ased on the entire record of this case,the C ou rt

makes the followingfind ings of factand conclu sions of law:

            A.     O n September12,20 18 (the “P etition D ate”
                                                              ),the D ebtorfiled herein avolu ntary

petition u nd erC hapter11 of the B ankru ptcy C od e.A s of the d ate hereof,no tru stee orex aminer

has been requ ested orappointed and no officialcommittee of cred itors has been appointed .
P age 1 of 5 –FIN A L O RD E R A UTH O RIZ IN G USE O F C A SH C O L L A TE RA L
              A N D GRA N TIN G A D E Q UA TE P RO TE C TIO N
{ 0 0212937 :1}


                         Case 18-33183-tmb11        Doc 46     Filed 10/16/18
            B .   The followingcred itors (eacha“Secu red C red itor”and collectively the “Secu red

C red itors”
           )may claim alien in the D ebtor’s cashcollateral(as d efined in § 363(a)),as follows:

                               A mou nt           P roperty
       L ien C red itor                                              B rief C ollateralD escription
                                 O wing             V alu e
P olkC ou nty                $50 ,00 0         $1,80 0 ,00 0     Tax L ien on realproperty

A M R Investment             $7 65,00 0        $1,80 0 ,00 0     D eed of Tru stand A ssignmentof
Grou p,L L C                                                     Rents Record ed 8 /2/20 11
                                                                 Instru mentN o.20 11-0 0 7 0 45
O B B P artners,L L C        $250 ,00 0        $1,80 0 ,00 0     D eed of Tru stand A ssignmentof
                             (D ispu ted )                       Rents Record ed 2/14/18
                                                                 Instru mentN o.20 0 8 -0 0 18 66
KennethW .H ick              $149,00 0         $1,80 0 ,00 0     D eed of Tru stand A ssignmentof
                                                                 Rents record ed 2/6/20 12
                                                                 Instru mentN o.20 12-0 0 10 46
B rian L eitgeb,as      $939,564.39            $1,80 0 ,00 0     D eed of Tru stand A ssignmentof
P ersonalRepresentative (D ispu ted )                            Rents record ed 12/0 4/20 0 6
forE state of Irwin                                              Instru mentN o.20 0 6-0 198 17
L eitgeb

            C.    The relief requ ested in the motion (i)is necessary to enable the D ebtorto continu e

the operation of its bu siness in an ord erly manner,to make d eposits withu tility service

provid ers,to pay payrolland otherpost-petition operatingex penses,and to satisfy otherworking

capitaland operationalneed s,(ii)constitu tes acriticalelementto achievingasu ccessfu lou tcome

to this C hapter11 case forcred itors and otherparties,and (iii)bestserves the interests of the

estate.

            D.    A bsentau thority to u se cashcollateral,the D ebtorwillhave to cu rtailorterminate

its bu siness operations to the d etrimentof allparties in interest.A mongotherthings,the

d isru ption ortermination of bu siness operations wou ld have amaterialand ad verse effecton the

valu e of the D ebtor’s bu siness.The D ebtor’s u se of cashcollateralwillenable itto maintain the

goingconcern valu e of its bu siness and the valu e of the realproperty.

            E.    A M R InvestmentGrou p,L L C (“A M R”
                                                      )filed an objection to the D ebtor’s

proposed u se of cashcollateral[E C F N o.34] .A fterfilingits objection,A M R entered in to a

stipu lation withthe D ebtor,consentingto the u se of cashcollateralu nd erthe terms of this O rd er.

P age 2 of 5 –FIN A L O RD E R A UTH O RIZ IN G USE O F C A SH C O L L A TE RA L
              A N D GRA N TIN G A D E Q UA TE P RO TE C TIO N
{ 0 0212937 :1}


                          Case 18-33183-tmb11         Doc 46    Filed 10/16/18
The ad equ ate protection offered to the Secu red C red itors in the motion is reasonable and

appropriate in the circu mstances.

            F.     N otice of the hearingon the motion was reasonable and su fficientin the

circu mstances.

            B ased on the foregoing,itis hereby O RD E RE D that:

            1.     The D ebtoris au thorized to u se $83,326 of cashcollateralforthe period of

O ctober15,20 18 ,throu ghand inclu d ingFebru ary 23,20 19 (the “B u d getP eriod ”
                                                                                   )in accord ance

withthe attached E x hibit1 (the “B u d get”
                                           ).D ebtor’s au thority to u se C ashC ollateralis limited
to the u ses setforthin the B u d get,togetherwitha10 % aggregate variance.

            2.     A s ad equ ate protection,the L ien C red itors are granted replacementliens u pon all

post-petition assets of the D ebtorwhichare of the id enticald escription to its pre-petition

collateral,withthe same relative priority vis-à-vis eachotherthatex isted as of the P etition D ate.

            3.     A d d itionally,as ad equ ate protection,D ebtorshallmake orcau se to be mad e

interim ad equ ate protection payments to A M R in the amou ntof $6,30 0 .00 eachmonthbeginning

on orbefore N ovember1,20 18 and continu ingon orbefore the firstd ay of eachmonth

thereafter(orthe firstbu siness d ay followingthe firstd ay of the monthshou ld the firstd ay of the

monthfallon aweekend orfed eralholid ay).P ayments to A M R shou ld be mailed to P O B ox

10 30 7 ,E u gene,O R 97 440 .Shou ld the D ebtorfailto pay the payments setforthin paragraph1

above,and if the D ebtorfails to cu re su chd efau ltafter10 d ays’written notice from A M R to the

D ebtor’s attorney,then A M R’s consentto u se cashcollateralshallbe revoked ,and D ebtor’s

au thority to u se cashcollateralwillterminate.

            4.     D ebtorwilltimely perform and complete allactions necessary and appropriate to

protectL ien C red itors’collateralagainstd iminu tion in valu e.

            5.     N othingin this O rd ershallbe constru ed to (a)grantasecu rity interestin the
D ebtor’s avoid ance powers;(b)convertany pre-petition obligations into post-petition

obligations;(c)requ ire paymentof any obligations on confirmation of aplan of reorganization,


P age 3 of 5 –FIN A L O RD E R A UTH O RIZ IN G USE O F C A SH C O L L A TE RA L
              A N D GRA N TIN G A D E Q UA TE P RO TE C TIO N
{ 0 0212937 :1}


                         Case 18-33183-tmb11          Doc 46      Filed 10/16/18
ex ceptas otherwise provid ed u nd erthe B ankru ptcy C od e;(d )alter,improve,limitorimpairthe

rights,if any,of parties claimingto have rights of reclamation againstD ebtor,orits assets or(e)

enhance the secu red position of any cred itoras of the P etition D ate.Fu rther,nothingin this ord er

shallpreclu d e L ien C red itors from assertingclaims forany fu rtheramou nts thatmay be owed by

the D ebtor.

            6.    D ebtoris au thorized to ex ecu te and d eliverto L ien C red itors su chinstru ments

consid ered by eachL ien C red itorto be necessary ord esirable to perfectthe secu red interests and

liens given to the L ien C red itor,and the L ien C red itoris au thorized to receive,file,and record

the same.

            7.    N othingcontained in this O rd ershallconstitu te ad etermination as to the amou nt,

valid ity,orpriority of any pre-petition obligation,secu rity interest,orlien and allrights of

parties in interestto claim thatany pre-petition lien orsecu rity interestin D ebtor’s property is

u nperfected ,u nenforceable,invalid ,orvoid able,are reserved .A d d itionally,nothingin this

O rd ershallconstitu te an ad mission oracknowled gementby D ebtorthatany party has avalid or

perfected lien in the cashof D ebtornow ex istingorsu bsequ ently received ,and the references

herein to “C ashC ollateral”are withou tpreju d ice to allrights,d efenses,and claims of D ebtorto

contend thatany party d oes nothave aperfected lien orsecu rity interestin su chcollateral.

            8.    D ebtor’s au thority to u se C ashC ollateralmay be ex tend ed beyond the amou ntin

P aragraph1 orthe B u d getP eriod by mu tu alagreementof the D ebtorand the L ien C red itors.In

the eventof su chagreement,D ebtormay su bmitafu rtherord erex tend ingD ebtor’s au thority to

u se C ashC ollateralon the same terms and cond itions as provid ed herein withou tan ad d itional

motion orhearing.N otice of the proposed ex tension,inclu d ingthe applicable B u d get,shallbe

provid ed to cred itors and parties in interestwith14 d ays forfilingobjections thereto.If no

objections are received ,the ex tension ord erwilltake effectu pon its stated d ate of

commencement.




P age 4 of 5 –FIN A L O RD E R A UTH O RIZ IN G USE O F C A SH C O L L A TE RA L
              A N D GRA N TIN G A D E Q UA TE P RO TE C TIO N
{ 0 0212937 :1}


                         Case 18-33183-tmb11           Doc 46     Filed 10/16/18
            9.     In the eventof ad efau ltu nd erthe terms of this O rd er,and u nless the D ebtorcu res

su chd efau ltwithin ten (10 )d ays afterreceivingwritten notice of the d efau lt,the D ebtor’s right

to u se C ashC ollateralshallbe terminated and the D ebtorshallbe fu rtherprohibited from u sing

C ashC ollateralwithou tobtainingacou rtord erallowingsu chu se.

            10 .   E x ceptas specified in Section 10 below,and ex ceptas otherwise au thorized by an

ord erof this C ou rt,the D ebtorshalld epositallfu nd s received since the P etition D ate and d u ring

the pend ency of this case in the D ebtor’s bankaccou ntoraccou nts and thatallex penses of the

D ebtord u ringthe pend ency of this case shallbe paid from su chaccou nts.D ebtorshallnot

prepay ex penses ex ceptin the ord inary cou rse of bu siness oras au thorized by acou rtord er.

            11.    D ebtoris au thorized to pay D ebtor’s C ou nselin accord ance withthe B u d get,and

any payments received by cou nselshallbe held in tru stu ntilappropriate fee applications are

mad e and approved by the B ankru ptcy C ou rt.

            12.    The amou nts and categories d escribed in the B u d getare d eemed acarve-ou t,

pu rsu antto 11 U.S.C .§ 50 6(c),of the L ien C red itors’collateral.

            13.    This O rd erd oes notcontain any of the “d isfavored provisions”listed in L B F

#541.5.

                                                        ###

            Icertify thatIhave complied withthe requ irements of L B R 90 21-1 (a)(2)(A ).

O rd erP resented by:

M O TSC H E N B A C H E R & B L A TTN E R,L L P
/s/N icholas J   .H end erson
N icholas J  .H end erson,O SB #0 7 40 27              FirstC lass M ail: See A ttached L ist.
117 SW TaylorStreet,Su ite 30 0
P ortland ,O R 97 20 4                                 E lectronic M ail:
Telephone:50 3-417 -0 50 0
Facsimile:50 3-417 -0 50 8                             The foregoingwas served on allC M /E C F
E -mail:nhend erson@ portlaw.com                       participants throu ghthe C ou rt'
                                                                                       s C ase
O f A ttorneys forD ebtor                              M anagement/E lectronic C ase File system




P age 5 of 5 –FIN A L O RD E R A UTH O RIZ IN G USE O F C A SH C O L L A TE RA L
              A N D GRA N TIN G A D E Q UA TE P RO TE C TIO N
{ 0 0212937 :1}


                          Case 18-33183-tmb11          Doc 46     Filed 10/16/18
                                    E X H IB IT 1

                         C A S H C O L L A TE RA L B UD GE T




{ 0 0 212937 :1}


                   Case 18-33183-tmb11     Doc 46    Filed 10/16/18
In re: Colonial Oaks Mobile Home Park, LLC                                                             Exhibit 1                                                                              Projected Cash Budget
Case No.: 18-33183-tmb11                                                                                                                                                                   10/15/18 through 2/24/19


Week Ending                                      10/20/2018        10/27/2018        11/3/2018          11/10/2018          11/17/2018        11/24/2018        12/1/2018        12/8/2018        12/15/2018

Initial Cash Balance                         $    33,828.87 $       23,069.87 $      22,869.87 $          16,044.87 $        17,255.87 $       29,957.87 $      18,971.87 $      18,771.87 $        12,271.87

Cash Inflows:

    Rent Income                              $          -      $          -      $         -      $        1,500.00 $        14,500.00 $        1,500.00 $            -      $         -      $     16,000.00
    Late Fees                                $          -      $          -      $         -      $             -   $              -   $          150.00 $            -      $         -      $           -
    Misc. Income                             $          -      $          -      $         -      $             -   $              -   $             -   $            -      $         -      $           -

Total Cash Inflows:                          $          -      $          -      $         -      $        1,500.00 $        14,500.00 $        1,650.00 $            -      $         -      $     16,000.00

Operating Expenses:

    Landscaping                              $      (368.00)   $          -      $         -      $              -      $      (368.00)   $          -      $         -      $         -      $           -
    Property Mgt Fees                        $    (1,120.00)   $          -      $         -      $              -      $    (1,120.00)   $          -      $         -      $         -      $           -
    Insurance                                $      (110.00)   $          -      $         -      $              -      $      (110.00)   $          -      $         -      $         -      $           -
    Property Tax                             $          -      $          -      $         -      $              -      $          -      $    (5,000.00)   $         -      $         -      $           -
    Water & Sewer                            $    (3,536.00)   $          -      $         -      $              -      $          -      $    (3,536.00)   $         -      $         -      $           -
    Garbage & Recycling                      $      (900.00)   $          -      $         -      $              -      $          -      $      (900.00)   $         -      $         -      $           -
    Maintenance and Repair                   $      (100.00)   $      (100.00)   $     (100.00)   $          (100.00)   $      (100.00)   $      (100.00)   $     (100.00)   $     (100.00)   $       (100.00)
    Parts and Supplies                       $       (50.00)   $       (50.00)   $      (50.00)   $           (50.00)   $       (50.00)   $       (50.00)   $      (50.00)   $      (50.00)   $        (50.00)
    Advertising                              $       (89.00)   $          -      $         -      $           (89.00)   $          -      $          -      $         -      $         -      $        (89.00)
    Licenses & Permits                       $          -      $          -      $         -      $              -      $          -      $          -      $         -      $         -      $           -
    Misc. Expense                            $       (50.00)   $       (50.00)   $      (50.00)   $           (50.00)   $       (50.00)   $       (50.00)   $      (50.00)   $      (50.00)   $        (50.00)

Total Operating Expenses:                    $    (6,323.00) $        (200.00) $       (200.00) $            (289.00) $      (1,798.00) $      (9,636.00) $       (200.00) $       (200.00) $         (289.00)

Other Expenses:

    Water/Sewer Deposit                      $    (3,536.00) $            -      $         -      $                 -   $          -      $          -      $         -      $         -      $            -
    Garbage Deposit                          $      (900.00) $            -      $         -      $                 -   $          -      $          -      $         -      $         -      $            -
                             (1)
    Professional Fees (M&B)                  $          -    $            -      $         -      $                 -   $          -      $    (3,000.00)   $         -      $         -      $            -
    Professional Fees (Levinson)                             $            -      $         -      $                 -   $          -      $          -      $         -      $         -      $            -
    AMR Adequate Protection                  $          -    $            -      $   (6,300.00)   $                 -   $          -      $          -      $         -      $   (6,300.00)   $            -
    UST Fees                                 $          -    $            -      $     (325.00)   $                 -   $          -      $          -      $         -      $         -      $            -

Total Other Expenses:                        $    (4,436.00) $            -      $   (6,625.00) $                   -   $          -      $    (3,000.00) $           -      $   (6,300.00) $              -

Total Cash Outflows:                         $   (10,759.00) $        (200.00) $     (6,825.00) $            (289.00) $      (1,798.00) $     (12,636.00) $       (200.00) $     (6,500.00) $         (289.00)

Remaining Cash Balance                       $    23,069.87 $       22,869.87 $      16,044.87 $          17,255.87 $        29,957.87 $       18,971.87 $      18,771.87 $      12,271.87 $        27,982.87

NOTES:
(1) Administrative expense allocation for
Motschenbacher & Blattner LLP is to be
held in trust, pending court approval of
fees and costs.




                                                                                                      Page 1 of 3

                                                                   Case 18-33183-tmb11                      Doc 46          Filed 10/16/18
In re: Colonial Oaks Mobile Home Park, LLC                                                             Exhibit 1                                                                           Projected Cash Budget
Case No.: 18-33183-tmb11                                                                                                                                                                10/15/18 through 2/24/19


Week Ending                                      12/22/2018        12/29/2018        1/5/2019             1/12/2019         1/19/2019        1/26/2019        2/2/2019        2/9/2019           2/16/2019

Initial Cash Balance                         $    27,982.87 $       23,398.87 $      20,198.87 $          12,198.87 $       13,409.87 $      23,325.87 $      20,125.87 $     19,925.87 $        12,775.87

Cash Inflows:

    Rent Income                              $     1,500.00 $             -      $         -      $        1,500.00 $       16,000.00 $            -      $        -      $         -      $     17,500.00
    Late Fees                                $       150.00 $             -      $         -      $             -   $          150.00 $            -      $        -      $         -      $           -
    Misc. Income                             $          -   $             -      $         -      $             -   $             -   $            -      $        -      $         -      $        150.00

Total Cash Inflows:                          $     1,650.00 $             -      $         -      $        1,500.00 $       16,150.00 $            -      $        -      $         -      $     17,650.00

Operating Expenses:

    Landscaping                              $      (368.00)   $          -      $        -       $              -      $     (368.00)   $         -      $        -      $        -       $       (368.00)
    Property Mgt Fees                        $    (1,120.00)   $          -      $        -       $              -      $   (1,120.00)   $         -      $        -      $        -       $     (1,120.00)
    Insurance                                $      (110.00)   $          -      $        -       $              -      $     (110.00)   $         -      $        -      $        -       $       (110.00)
    Property Tax                             $          -      $          -      $        -       $              -      $         -      $         -      $        -      $        -       $           -
    Water & Sewer                            $    (3,536.00)   $          -      $        -       $              -      $   (3,536.00)   $         -      $        -      $        -       $     (3,536.00)
    Garbage & Recycling                      $      (900.00)   $          -      $        -       $              -      $     (900.00)   $         -      $        -      $        -       $       (900.00)
    Maintenance and Repair                   $      (100.00)   $      (100.00)   $    (100.00)    $          (100.00)   $     (100.00)   $     (100.00)   $    (100.00)   $    (100.00)    $       (100.00)
    Parts and Supplies                       $       (50.00)   $       (50.00)   $     (50.00)    $           (50.00)   $      (50.00)   $      (50.00)   $     (50.00)   $     (50.00)    $        (50.00)
    Advertising                              $          -      $          -      $        -       $           (89.00)   $         -      $         -      $        -      $        -       $        (89.00)
    Licenses & Permits                       $          -      $          -      $        -       $              -      $         -      $         -      $        -      $        -       $           -
    Misc. Expense                            $       (50.00)   $       (50.00)   $     (50.00)    $           (50.00)   $      (50.00)   $      (50.00)   $     (50.00)   $     (50.00)    $        (50.00)

Total Operating Expenses:                    $    (6,234.00) $        (200.00) $      (200.00) $             (289.00) $     (6,234.00) $       (200.00) $      (200.00) $      (200.00) $        (6,323.00)

Other Expenses:

    Water/Sewer Deposit                      $          -      $          -      $         -      $                 -   $         -      $         -      $        -      $         -      $            -
    Garbage Deposit                          $          -      $          -      $         -      $                 -   $         -      $         -      $        -      $         -      $            -
                             (1)
    Professional Fees (M&B)                  $          -      $    (3,000.00)   $         -      $                 -   $         -      $   (3,000.00)   $        -      $         -      $            -
    Professional Fees (Levinson)             $          -      $          -      $   (1,500.00)   $                 -   $         -      $         -      $        -      $         -      $            -
    AMR Adequate Protection                  $          -      $          -      $   (6,300.00)   $                 -   $         -      $         -      $        -      $   (6,300.00)   $            -
    UST Fees                                 $          -      $          -      $         -      $                 -   $         -      $         -      $        -      $     (650.00)   $            -

Total Other Expenses:                        $          -      $    (3,000.00) $     (7,800.00) $                   -   $         -      $   (3,000.00) $          -      $   (6,950.00) $              -

Total Cash Outflows:                         $    (6,234.00) $      (3,200.00) $     (8,000.00) $            (289.00) $     (6,234.00) $     (3,200.00) $      (200.00) $     (7,150.00) $       (6,323.00)

Remaining Cash Balance                       $    23,398.87 $       20,198.87 $      12,198.87 $          13,409.87 $       23,325.87 $      20,125.87 $      19,925.87 $     12,775.87 $        24,102.87

NOTES:
(1) Administrative expense allocation for
Motschenbacher & Blattner LLP is to be
held in trust, pending court approval of
fees and costs.




                                                                                                      Page 2 of 3

                                                                   Case 18-33183-tmb11                      Doc 46          Filed 10/16/18
In re: Colonial Oaks Mobile Home Park, LLC                                           Exhibit 1                         Projected Cash Budget
Case No.: 18-33183-tmb11                                                                                            10/15/18 through 2/24/19


Week Ending                                      2/23/2019          Grand Total

Initial Cash Balance                         $   24,102.87

Cash Inflows:

    Rent Income                              $         -      $      70,000.00
    Late Fees                                $         -      $         450.00
    Misc. Income                             $         -      $         150.00

Total Cash Inflows:                          $         -      $      70,600.00

Operating Expenses:

    Landscaping                              $         -      $      (1,840.00)
    Property Mgt Fees                        $         -      $      (5,600.00)
    Insurance                                $         -      $        (550.00)
    Property Tax                             $         -      $      (5,000.00)
    Water & Sewer                            $         -      $     (17,680.00)
    Garbage & Recycling                      $         -      $      (4,500.00)
    Maintenance and Repair                   $         -      $      (1,800.00)
    Parts and Supplies                       $         -      $        (900.00)
    Advertising                              $         -      $        (445.00)
    Licenses & Permits                       $         -      $            -
    Misc. Expense                            $         -      $        (900.00)

Total Operating Expenses:                    $         -      $     (39,215.00)

Other Expenses:

    Water/Sewer Deposit                      $         -      $      (3,536.00)
    Garbage Deposit                          $         -      $        (900.00)
                             (1)
    Professional Fees (M&B)                  $   (3,000.00)   $     (12,000.00)
    Professional Fees (Levinson)             $         -      $      (1,500.00)
    AMR Adequate Protection                  $         -      $     (25,200.00)
    UST Fees                                 $         -      $        (975.00)

Total Other Expenses:                        $   (3,000.00) $       (44,111.00)

Total Cash Outflows:                         $   (3,000.00) $       (83,326.00)

Remaining Cash Balance                       $   21,102.87

NOTES:
(1) Administrative expense allocation for
Motschenbacher & Blattner LLP is to be
held in trust, pending court approval of
fees and costs.




                                                                                    Page 3 of 3

                                                                  Case 18-33183-tmb11     Doc 46   Filed 10/16/18
